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 1    CHRISTOPHER FROST, SBN 200336
      chris@wgfcounsel.com
 2    ASHLEY MORRIS, SBN 225455
      ashley@wgfcounsel.com
 3    WEINBERG GONSER FROST LLP
      10866 Wilshire Blvd., Suite 1650
 4    Los Angeles, CA 90024
      Telephone: (424) 239-2851
 5    Facsimile: (424) 238-3060
 6    Attorneys for Defendant,
      AUCTION BROTHERS, INC.
 7    dba AMAZZIA
 8
 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11    THIMES SOLUTIONS INC.,                    Case No.: 2:19-CV-10374-SB-E
12                           Plaintiff
                                                DEFENDANT AUCTION
13                vs.                           BROTHERS, INC. dba AMAZZIA’S
                                                NOTICE OF MOTION AND
14    TP-LINK USA CORPORATION, and              MOTION FOR GOOD FAITH
      AUCTION BROTHERS, INC. d/b/a              SETTLEMENT DETERMINATION
15    AMAZZIA,                                  PURSUANT TO CALIFORNIA
                                                CODE OF CIVIL PROCEDURE
16                           Defendants.        §877.6
17                                              [Filed concurrently with Compendium of
      TP-LINK USA CORPORATION,                  Evidence; Motion to Seal]
18
                          Counterclaimant,      Date: September 23, 2022
19                                              Time: 8:30 a.m.
                  vs.                           Courtroom: 6C
20
      THIMES SOLUTIONS INC.,
21
                          Counter-Defendant.
22
23
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 1 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that, on September 23, 2022 at 8:30 a.m., or as soon
 3 thereafter as the matter may be heard, and Defendant AUCTION BROTHERS, INC. doing
 4 business as AMAZZIA (hereinafter referred to as “Amazzia”) will and hereby does move
 5 this Court, for an order determining that Amazzia’s settlement with Plaintiff THIMES
 6 SOLUTIONS INC. (hereinafter referred to as “Thimes”) has been made in good faith.
 7          This motion is made on the grounds that Amazzia’s settlement satisfies all factors
 8 set forth in Tech-Bilt, Inc. v. Woodward-Clydie & Assoc. (1985) 38 Cal. 3d. 488, 499 and
 9 its progeny. Under the terms of the Settlement Agreement, Amazzia has agreed to pay the
10 sum of $40,000 to Thimes in exchange for a general release and the dismissal of its
11 Complaint against Amazzia, with prejudice. The amount of the settlement is well within the
12 ballpark of Amazzia’s potential proportionate share of liability, if any, in this action.
13          This motion is based upon this Notice, the attached Memorandum of Points and
14 Authorities, the declaration of Chris Frost, the Compendium of Exhibits, and all papers and
15 pleadings on file herein, and upon such oral and/or documentary evidence as may be
16 presented at the time of the hearing.
17
18    DATED: August 19, 2022                          WEINBERG GONSER FROST LLP
19
20                                              By:    /s/ Christopher Frost
                                                      Christopher Frost
21                                                    Ashley Morris
22                                                    Attorneys for Defendant,
                                                      AUCTION BROTHERS, INC. dba
23                                                    AMAZZIA
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          This heavily-litigated matter arises from a claim alleging Thimes Solution, Inc.
 4 (“Thimes”) lost profits after it was removed from the Amazon Marketplace (“Amazon”) for
 5 allegedly selling inauthentic products. Thimes claims interference with its business on the
 6 basis that Defendants reported its products to be “counterfeit” rather than simply “trademark
 7 infringing.” Defendants assert that they properly reported Thimes’ products to Amazon
 8 consistent with Amazon’s terms, definitions, and policies.
 9          Thimes is an unauthorized reseller of products manufactured by Defendant TP-Link
10 USA Corporation (“TP Link”). TP Link products come with a limited warranty which does
11 not apply to products that are sold by unauthorized resellers. TP Link asserts that Thimes
12 advertised TP Link products as “new” which would, and did, lead to customer confusion
13 regarding the availability of the manufacturer’s warranty.
14          Thimes sold TP Link products on Thimes’ Amazon virtual store. Amazon has
15 policies in place that prohibit the selling of inauthentic or “infringing” products. Pursuant
16 to Amazon policy, the availability of TP Link’s warranty is required to advertise TP Link
17 products as “new.” Neither Amazzia nor TP Link has control over Amazon’s method for
18 defining product conditions or the application of its anti-counterfeit policy.
19          TP Link retained Amazzia to monitor TP Link’s products being sold to report any
20 unauthorized sellers that were distributing products in a manner that could confuse TP Link
21 consumers. Such reporting was performed in a manner, and using terminology, dictated by
22 Amazon. Defendants had no role in Amazon’s decision to suspend or terminate any Amazon
23 account, including Thimes’ account. After several reports that TP Link was selling
24 “inauthentic” products, as defined by Amazon, Thimes was “delisted” from Amazon due to
25 improper reporting. Thimes alleges that it sustained injury in the form of lost profits.
26          Thimes and Amazzia have now settled their differences and seek a good faith
27 settlement determination.
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 1    II.    PROCEDURAL BACKGROUND
 2           This matter was originally filed by Thimes in the Southern District of New York in
 3 2019. The Complaint initially stated state law claims but was amended to assert federal law
 4 claims. Thimes’ original pleading was the subject matter of extensive law and motion
 5 practice. Ultimately, all federal claims were dismissed. On December 6, 2019, at a Case
 6 Management Conference in S.D.N.Y., the court transferred this matter to the Central
 7 District of California. Once transferred to the Central District, Thimes’ Complaint was
 8 amended on multiple occasions. Thimes’ operative Fifth Amended Complaint was filed
 9 with this Court on or about May 27, 2022 alleging state law causes of action for (i)
10 interference with existing and prospective business relationships; (ii) trade libel; and (iii)
11 declaratory judgment of non-infringement. ECF No. 178.
12           In addition, TP Link asserted a cross-complaint against Thimes for violation of the
13 Lanham Act, 15 U.S.C. §1051 et seq. alleging trademark counterfeiting when Thimes
14 advertised TP Link products for sale as “new” despite those products missing what TP Link
15 deemed an essential part of TP Link’s well-known brand – namely, a TP Link product
16 warranty and availability of replacements. ECF No. 175.
17           Defendant Amazzia maintains no cross-claims. The parties engaged in preliminary
18 settlement discussions and ultimately participated in a mediation on June 30, 2022. While
19 the matter did not settle at mediation, Thimes and Amazzia subsequently reached a
20 settlement of $40,000 in exchange for a general release of all claims against Amazzia, which
21 were set forth in a long-form settlement agreement and submitted for this Court’s
22 consideration. Ex. 1.
23    III.   FACTUAL BACKGROUND
24           A.    Thimes and TP Link Allegations Against Each Other
25           As set forth in Thimes’ Complaint, Thimes began selling TP Link products on
26    Amazon in 2016 and signed Amazon’s Standard Business Solutions Agreement which
27    allowed Amazon to terminate Thimes’s account at Amazon’s discretion. ECF. No. 178,
28    ¶ 6. Thimes alleges that, at all times, it purchased TP Link product in the manufacturer’s
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 1    original packaging and did not repackage, modify or otherwise change the product for
 2    resale. Id. at ¶ 4. However, Thimes admits that it is not an “authorized” seller of TP Link
 3    products and is instead a “gray market” seller. Id. at ¶¶ 3-4; 32, fn. 12; 36.
 4           TP Link is an exclusive licensee with all rights to enforce US Trademark
 5    Registration No. 3,175,495 (the “TP-LINK® Mark”). ECF No. 175, ¶¶ 2-3. TP Link asserts
 6    Thimes’ “gray market” unauthorized selling of “new” TP Link products deceives
 7    customers into thinking that Thimes is affiliated with TP Link, which would convey an
 8    expectation that products are covered by the manufacturer’s warranty. Id. at ¶ 8. TP Link
 9    does not provide a warranty for products purchased through an unauthorized seller
10    regardless of whether the products remain in their original packaging or are not otherwise
11    modified. Ibid.; Ex. 2.
12           TP Link alleges that Thimes has infringed on TP Link’s trademark and engaged in
13 trademark counterfeiting. ECF No. 175, ¶ 10. In bringing its counterclaim, TP Link asserts
14 it is protecting the value and quality of its products and brand. Ibid.; see also Id. at ¶¶ 18-
15 19. When Thimes sells “new” TP Link products without any indication of how that sale
16 impacts the product warranty, it is alleged that Thimes causes confusion, mistake or
17 deception in the minds of consumers that harms TP Link’s brand by diminishing the value
18 of its mark, which is associated with a reputation for specialized, high-quality computer
19 networking products that carry a limited warranty honored by the company. Id. at ¶¶ 10, 26-
20 27; 32.
21           B.    Amazzia Reports Inauthentic Products to Amazon, Pursuant to
22           Amazon’s Policies, and Amazon Determines the Appropriate Response to its
23           Sellers
24           At all times relevant herein, Thimes has acknowledged that Amazzia was an outside
25 vendor contracted to provide services to monitor specific TP Link products and report
26 unauthorized sellers allegedly causing unnecessary confusion to consumers. ECF No. 178,
27 ¶ ¶ 19-24. Amazzia reported the presence of unauthorized sellers consistent with Amazon’s
28 policies regarding product “Condition” labeling and Anti-Counterfeiting policies. Thimes
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 1 asserts, in its Fifth Amended Complaint, that Amazzia sent “fraudulent IP complaints to
 2 Amazon charging Thimes with counterfeiting….” Id. at ¶ 18. Unfortunately, as set forth in
 3 detail below, Thimes conflates their purported legal definition of counterfeiting with
 4 Amazon’s use of the term.
 5          Regardless, as set forth below, Amazzia operated within its understanding of
 6 Amazon’s Anti-Counterfeiting Policy and Condition Guidelines, which define terms
 7 Amazon uses to identify “inauthentic” products and/or product advertisements. Ex. 3; Anti-
 8 Counterfeiting Policies; Ex. 4, Condition Guidelines. There is no evidence to support a
 9 claim that Amazzia engaged in reporting to Amazon with some underlying nefarious intent
10 against Thimes or unauthorized sellers in general. However, it is undisputed that Amazzia
11 only submitted reports to Amazon but that Amazon generated and enforces its policies
12 regarding the reporting of “inauthentic” products. Amazzia had no authority or ability to
13 suspend or terminate any seller’s account on the Amazon Marketplace, including Thimes’
14 account.
15          C.    Thimes Sold TP Link Products as “New” Despite the Lack of
16          Manufacturers’ Warranty
17          As a matter of course, Amazzia would receive information from its clients that a
18    seller on Amazon was attempting to sell inauthentic products. In this case, for example,
19    Thimes – using its Amazon marketplace account named Universal Goods and Sales –
20    would advertise the sale of “new” TP Link products. Ex. 5.
21          Universal Goods and Sales would advertise the sale of TP Link products as “new”.
22    That information would be provided to Amazzia which would report the seller to Amazon
23    pursuant to Amazon policies as set forth below.
24          D.    Amazzia Prepared Reports Using Terminology Within Amazon’s
25          Condition Guidelines and Anti-Counterfeiting Policy
26          All reports made by Amazzia to Amazon were consistent with Amazon’s published
27    guidelines, despite Thimes’ mischaracterization that the reports were “false”. For example,
28    Amazon’s “Seller’s Condition Guidelines” identifies a “new” product as “[a] brand-new
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 1    item. Original manufacturer’s warranty, if any, still applies, with warranty details
 2    included in the listing comments.” “Unacceptable and prohibited items” include “item[s]…
 3    Missing essential accompanying material or parts.”
 4          Amazon also maintained an Anti-Counterfeiting Policy which requires all sellers to
 5    sell only authentic and legal products. “Prohibited” products include products that
 6    “infringe any other party’s intellectual property rights.” “Amazon may request that
 7    you provide documentation (such as invoices) showing the authenticity of your products
 8    or your authorization to list them for sale.” The consequence of selling “inauthentic”
 9    products may include suspension or termination of the Amazon’s own account. Whether
10    or not infringing on another party’s intellectual property rights rises to the legal definition
11    of “counterfeit” is a red herring. Amazon clearly identified products that infringed on
12    intellectual property rights as “prohibited” products under its Anti-Counterfeiting Policy,
13    which formulated the basis for Amazzia’s reports.
14          Amazon Anti-Counterfeiting Policy also acknowledges that it “works with
15 manufacturers” and its vendors to detect and prevent inauthentic products from being sold
16 on Amazon. Manufacturers are encouraged to notify Amazon if they believe “inauthentic”
17 products are being sold. Therefore, Amazzia’s business model of handling the various
18 reporting requested by Amazon is not inappropriate and is encouraged by Amazon.
19          TP Link alleges that Thimes sold TP Link products as “new” which did not satisfy
20 Amazon’s Condition Guidelines and which further made the product’s listing “inauthentic”.
21 Thus, Amazzia’s reporting was meant to be consistent with Amazon guidelines based on
22 those factors deemed important to Amazon as it protected its own brand, customer relations
23 and customer expectations regarding quality and authenticity.
24          E.     Only Amazon Suspended or Terminated Seller Accounts
25          The crux of Thimes’ complaint assert Defendants reported the selling of inauthentic
26 products as “counterfeit” when it was actually selling products that were merely “trademark
27 infringing.” This is a distinction without a difference. Thimes asserts that the use of the term
28 “counterfeit” is legally inapposite to the product being distributed by Thimes. However,
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 1 Amazzia’s reports were made under a good faith, reasonable interpretation of Amazon’s
 2 above-stated policies and verbage.
 3          Furthermore, discovery has revealed that Thimes was in repeated contact with
 4 Amazon which continually asked for information consistent with these policies. As
 5 demonstrated in documents produced in discovery, Thimes began receiving notification of
 6 complaints regarding product authenticity in January 2018 and disputed their contents to
 7 Amazon directly. Ex. 6. In response to Amazon notifications, Thimes continually proffered
 8 evidence that it had purchased TP Link products from a known distributor and insisted that
 9 the claims that products were inauthentic were “false”. However, Thimes’ proffered
10 evidence did not satisfy Amazon as repeatedly communicated by Amazon to Thimes.
11          For example, in May 2018, Thimes sought to “appeal” Amazon’s efforts to remove
12 an offending product. Ex. 6. Within Amazon’s response, the company was clear that it found
13 the listing to require “proof of product authenticity”, which – as set forth above – is defined
14 as a product missing “essential” material. Since Amazon found production of an invoice
15 showing purchase of TP Link products to be insufficient to prove authenticity, Amazon
16 determined Thimes’ listing to require suspension, and ultimately termination, of Thimes’
17 selling platform.
18          F.    TP Link Established Actual Confusion of Consumers Who Bought
19          Product from Unauthorized Sellers
20          As this matter progressed, discovery was exchanged. In response to Thimes’
21 requests, TP Link produced repeated and extensive evidence of customer service support
22 conversations with purchasers of TP Link products whose replacement and warranty
23 requests were denied because the products were purchased by unauthorized sellers. See,
24 e.g., Ex. 7. Thus, it is undisputed that an unauthorized seller of TP Link products, promoting
25 its product as “new” and failing to disclose the lack of manufacturer’s warranty, causes
26 actual customer confusion.
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 1    IV.   LEGAL ARGUMENT
 2          A.    This Court Has the Authority to Approve this Motion for Good Faith
 3          Settlement Determination Between Amazzia and Thimes
 4          “When the district court sits in diversity, or hears state law claims based on
 5 supplemental jurisdiction, the court applies state substantive law to the state law claims.”
 6 Mason and Dixon Intermodal, Inc. v. Lapmasher Int’l LLC (2011) 623 F. 3d 1056, 1060.
 7 Under the California Code of Civil Procedure, § 877.6(a), a defendant who has settled a
 8 claim with a plaintiff is entitled to a hearing on the issue of the good faith of the settlement.
 9 If the court finds the settlement to be in good faith, all present and future claims against the
10 settling defendant for a contribution or total or partial equitable indemnity are barred. Code
11 Civ. Proc., § 877.6(c); Abbott Ford, Inc. v. Sup.Ct. (Ford Motor Co.) (1987) 43 Cal. 3d 858,
12 885; see also Code Civ. Proc., § 877(b).
13          The purpose of a good faith determination is to encourage “an equitable allocation
14 of costs among multiple tortfeasors [while]…furthering the policy in favor of settlements.”
15 Everman v. Supreme Court (1992) 8 Cal. 4th 466, 468. As observed in Fischer v. Supreme
16 Court (1980) 103 Cal. App. 3d 434, “[t]he best way to encourage settlement of cases
17 involving alleged concurrent tortfeasors where one of them wishes to settle with plaintiff
18 and the ‘good faith’ of that settlement is, or may be, questioned, is to make a judicial
19 determination of the merits of the good faith of the parties involved.”
20          Section 877.6 has two primary goals: (1) to encourage settlements and, equally
21 important, (2) to ensure the equitable sharing of costs among defendants. See Mattco Forge,
22 Inc. v. Arthur Young & Co. (1995) Cal. App. 4th 1337 Those two goals are “inextricably
23 linked” in evaluating whether a settlement is in good faith pursuant to § 877.6. “The party
24 asserting the lack of good faith shall have the burden of proof on that issue.” (§ 877.6, subd.
25 (d).) As indicated above, an equitable sharing of costs among defendants would be
26 accomplished upon the granting of the instant motion.
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 1          B.     California Law Provides a Framework of Elements to Consider When
 2          Determining Whether the Settlement is in Good Faith
 3          Amazzia’s settlement agreement with Thimes is fair and reasonable to non-settling
 4 TP Link, the product manufacturer and contractor of Amazzia services. The settlement is
 5 well within the “ballpark” value of the case and Amazzia’s potential share of liability in this
 6 matter. See Tech-Bilt, Inc. v. Woodward-Clyde & Associates (1985) 38 Cal. 3d 488, 499.
 7 In determining whether a settlement is made in good faith, the court must apply various
 8 factors to establish a “reasonable range” for the settling parties' share of liability. To pass
 9 muster, these settlements have to meet the Tech-Bilt standards above and the additional
10 standards discussed below. Abbott Ford, supra, 43 Cal. 3d 858, 874.
11       Those factors include:
12          (1) a rough approximation of the total recovery;
13          (2) the settlers' proportionate share of liability;
14          (3) the amount paid in settlement;
15          (4) the allocation of settlement proceeds among plaintiffs;
16          (5) recognition that a settler should pay less in settlement than it would if found
17          liable after trial;
18          (6) the settler's financial condition and insurance policy limits; and
19          (7) the existence of collusion, fraud or tortious conduct meant to injure the interests
20          of non-settling defendants. (Tech-Bilt, Inc., supra, 38 Cal. 3d at 492-93, 495.)
21       In considering the settlement amount, the court is not required to simply accept the
22 amount of damages prayed for by Thimes, but must consider the facts of the case to
23 determine what Thimes' probable recovery will be. Tech-Bilt, supra, 38 Cal. 3d at 499.
24 Moreover, due consideration must be given to the fact that in settling, it is reasonable for
25 parties to accept less than they might recover at trial in order to avoid the uncertainty and
26 expense of litigation. Id. In evaluating the amount of a settlement, so long as the
27 settlement amount represents a reasonable approximation of the settling defendant’s
28 proportionate share of liability, the amount will be considered in good faith. (Tech-Bilt,
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 1 supra, 38 Cal. 3d at 499.) “The ultimate determination of good faith is whether the
 2 settlement is grossly disproportionate to what a reasonable person at the time of the
 3 settlement would estimate the settlers' liability to be.” City of Grand Terrace v. Superior
 4 Court (1987) 192 Cal. App. 3d 1251, 1262.
 5       In this case, Thimes alleges that it will have incurred $5 million in “lost profit” damages
 6 based on Amazon’s removal of Thimes’ offending product listings. Thimes is alleged to
 7 have to infringed on TP Link’s trademark for repeatedly selling TP Link’s products as
 8 “new” despite its undisputed non-compliance with Amazon’s Conditions Guidelines. The
 9 only question to ask regarding Amazzia’s actions is: Was Amazzia justified in reporting
10 Thimes’ selling of TP Link products whose condition was described as “new” but which
11 did not carry the manufacturer’s warranty because Thimes was an unauthorized reseller.
12 The evidence clearly establishes Amazzia was justified in its conduct.
13       There is a reasonable good-faith basis to believe that – based on Amazon’s use of
14 terminology and definitions – a trier of fact will determine that Amazzia did not submit
15 “libelous per se” reports. Furthermore, since Amazzia (i) did not terminate Thimes’ virtual
16 store, did not develop the policies upon which Amazon make such decisions, and (ii) was
17 not the product manufacturer developing the parameters of a limited warranty, Amazzia
18 shares in a de minimis proportionate share of liability, if any. Amazon encourages the
19 reporting of intellectual property rights violations pursuant to “Anti-Counterfeiting Policy”
20 – a policy exclusively drafted and applied by Amazon. Amazzia simply followed Amazon’s
21 suggested protocols.
22          Furthermore, as set forth in detail below, Thimes is an admitted “gray market” seller.
23 Gray market selling of products that lose a manufacturer’s warranty in the process are
24 considered to be trademark infringements. Thus, Thimes’ selling of TP Link products as
25 “new” is a “violation of [TP Link’s] intellectual property rights” which makes the products
26 “prohibited” under Amazon’s Anti-Counterfeiting Policy.
27          When considering the likelihood of Thimes’ prevailing on its claims, this court
28 should also consider (i) the fact that Amazzia was reporting in a manner consistent with
                                                  - 13 -
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 1 Amazon policy, and (ii) the likelihood of TP Link prevailing on its counter claims for
 2 trademark infringement and trademark copyrighting.1
 3            C.      Amazzia’s Potential Liability is Minimal as a Matter of Law
 4            Trademark infringement claims and unfair competition claims under California law
 5 are the same in many aspects. “The test for infringement of a federally registered mark
 6 under §32 (1), 15 U.S.C. §1114 (1), infringement of a common-law trademark, unfair
 7 competition under § 43(a), 15 U.S.C. § 1125(a), and common law unfair competition
 8 involving trademarks are the same.” Patagonia, Inc. v. McHugh, 2020 WL 4258818, *2
 9 citing Grey v. Campbell Soup Co., 650 F. Supp. 1166, 1173 (C.D. Cal. 1986).
10            “Whether we call the violation infringement, unfair competition or false designation
11 of origin, the test is identical: is there a likelihood of confusion?” Hokto Kinoko Co. v.
12 Concorde Farms Inc., 810 F.Supp. 2d 1013, 1032 (9th Cir. 2011) citing New W. Corp. v.
13 NYM Co. of Cal., Inc., 595 F.2d 1194, 1201 (9th Cir. 1979). Thus, whether Defendants
14 “interfered” with Thimes’ legitimate business practice and, conversely, whether Thimes
15 infringed on TP Link’s trademark, will be analyzed through the same lens.
16                    1.      TP Link’s Likelihood of Prevailing on its Trademark Counter Claims

17            There is a strong chance that Defendants will be successful in defending itself against
18 Thimes’ claims that reports made to Amazon were “false” and intended to unjustifiably
19 “interfere” with Thimes’ current and prospective business.2 In fact, there is no reasonable
20 argument that Defendant’s efforts made to protect TP Link’s mark were “unjustified”
21 whatsoever. At all times, TP Link took steps to protect its mark from consumer confusion
22 which has been demonstrated in communications with its customers that were denied
23 warranty because they purchased products from an unauthorized seller. See e.g., Ex. 7.
24    1
          In addition, there is no insurance coverage available to Amazzia for Thimes’ claims and any further
25      contribution toward settlement would have significant negative financial impacts on Amazzia as
        established by its Amazzia’s profit and loss statement submitted for consideration to this Court. Ex. 5; see
26      also Amazzia’s Motion to Seal. Should this matter proceed to trial and should Thimes prevail, the
        likelihood of collecting on any judgment from Amazzia is extraordinarily low.
27    2
                For an interference claim to be actionable, the alleged interference must be “unjustified and/or
28    without privilege.” Lowell v. Mothers Cake & Cookie Co. (1978) 79 Cal. App. 3d 13, 17-18.

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 1          Generally, the right of a manufacturer to control distribution of its trademarked
 2 products does not extend beyond the first sale of the product. “Resale by the first purchaser
 3 of the original article under the producer’s trademark is neither trademark infringement nor
 4 unfair competition.” Sebastian Int'l, Inc. v. Longs Drug Stores Corp., 53 F.3d 1073, 1074
 5 (9th Cir. 1995). This is commonly referred to as the “first sale doctrine.”
 6          That doctrine does not apply, however, when a party sells trademarked goods “that
 7 are materially different than those sold by the trademark owner.” SoftMan Prod. Co., LLC
 8 v. Adobe Sys., Inc., 171 F. Supp. 2d 1075, 1092 (C.D. Cal. 2001). In a trademark
 9 infringement claim involving “gray goods,” the court is necessarily required to evaluate
10 subtle differences between products, “for it is by subtle differences that consumers are most
11 easily confused.” Societe Des Produits Nestle, S.A. v. Casa Helvetia, Inc., 982 F.2d 633,
12 641 (1st Cir.1992) [”Nestlé”]. In this case, Thimes admits that it is a “gray market” seller
13 of TP Link products and further admitting it uses TP Link’s mark.
14          The Ninth Circuit has identified eight factors to determine whether there is a
15 likelihood of confusion: (1) the similarity of the mark, (2) the strength of the mark, (3)
16 evidence of actual confusion, (4) the proximity or relatedness of the goods, (5) the degree
17 to which the marketing channels used for the goods converge, (6) the type of goods and the
18 degree of care likely to be exercised by the purchasers, (7) the defendant's intent in selecting
19 the mark, and (8) the likelihood of expansion of the product lines. AMF, Inc. v. Sleekcraft
20 Boats, 599 F.2d 341 (9th Cir.1979).
21          Thimes acknowledges it has purchased and resold “genuine” TP Link products. To
22 that end, Thimes acknowledges that it uses TP Link’s trademark and that the products are
23 proximate and “related”. TP Link has established the strength of its mark in prior filings by
24 noting it is the exclusive licensee of the subject trademark in the United States. ECF No.
25 175, ¶ 17; TP Link’s Ex. 2 to its counterclaim.
26          TP Link has also produced in discovery evidence of actual consumer confusion when
27 seeking to exercise product warranties and replacement request. Ex. 7. All parties agree that
28 TP Link products are “available at substantially all major electronics retailers” and enjoy a
                                                 - 15 -
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 1 wide array of consumers for its well-known and broadly distributed products. EMF No. 168,
 2 ¶ 14. It is clear that Thimes has selected re-selling TP Link products because of its wide
 3 popularity within the industry.
 4                2.     The Unavailability of a Warranty Rises to the Level of “Material
 5                Difference”
 6          The core element of trademark infringement is a likelihood of confusion to the
 7 consumer. Meaning, “whether the similarity of the marks is likely to confuse customers
 8 about the source of the products.” Hokto Kinoko Co, supra, 810 F.Supp. 2d at 1023 (9th
 9 Cir. 2011) citing E. & J. Gallo Winery v. Gallo Cattle Co. (9th Cir. 1992). In the “gray
10 market”, the likelihood of confusion relates to the existence of “material differences”
11 between the allegedly infringing good and the manufacturer’s product. Hokto Kinoko,
12 supra, 810 F.Supp. 2d at 1024 citing Grupo Gamesa S.A. De C.V. v. Dulceria El Molino,
13 Inc., 39 U.S.P.Q.2d 1531, 1533 (C.D. Cal. 1996); Am. Circuit Breaker Corp. v. Or. Breakers
14 Inc., 406 F.3d 577, 584 (9th Cir. 2005); Summit Tech. v. High–Line Med. Instruments Co.,
15 922 F.Supp. 299, 308 (C.D.Cal. 1996); PepsiCo, Inc. v. Reyes, 70 F.Supp. 2d 1057, 1059
16 (C.D.Cal.1999)
17          As the court noted in PepsiCo, “[t]he threshold of materiality ‘is always quite low.’”
18 Id. at 1059 citing Nestlé, supra, 982 F.2d at 641. “[T]he existence of any difference
19 between registrant's product and the allegedly infringing gray good that consumers would
20 likely consider to be relevant when purchasing a product creates a presumption of consumer
21 confusion sufficient to support a Lanham Trade Mark Act claim.” Nestlé, supra, 982 F.2d
22 at 641 [emphasis added].
23          This Court has found that “[m]aterial differences can relate to a product’s quality
24 control standards, packaging, and price.” Hokto Kinoko Co., supra, 810 F.Supp. 2d at 1025
25 citing Nestlé, supra, 982 F.2d at 641. In Hokto Kinoko Co., this Court was required to
26 determine whether mushrooms grown by a plaintiff Japanese company were materially
27 different from US produced mushrooms package with its mark. Ultimately, this Court found
28
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 1 that there were “material differences” between the products, including “warranty and
 2 customer support”. Id. at 1026.
 3           In fact, the lack of a warranty on a product due to the nature of resale has been found
 4 to constitute a “material difference” in multiple matters. Harman Int'l Indus., Inc v. Pro
 5 Sound Gear, Inc., No. 2:17-CV-06650-ODW-FFMx, 2018 WL 1989518, at *4 (C.D. Cal.
 6 Apr. 24, 2018); HM Elecs., Inc. v. R.F. Techs., Inc., No. 12-CV-2884-MMA (WMC), 2013
 7 WL 12074966, at *3 (S.D. Cal. Oct. 3, 2013).
 8           Beltronics USA, Inc. v. Midwest Inventory Dist., LLC, 562 F.3d 1067, 1073-1074
 9 (10th Cir. 2009) is also instructive. In connection with a preliminary injunction, the court
10 was asked to review a trial court’s determination that Beltronics had a substantial likelihood
11 of prevailing on the merits of the trademark infringement claim. Id. at 1070. After reviewing
12 many of the above-stated cases, the Beltronics court held as follows:
13
14                  Similarly, the First Circuit has observed that “the appropriate test
                    [for materiality was bracket should not be strictly limited to
15                  physical differences,” but should include other differences such
16                  as “warranty protection or service commitments [that] may well
17                  render products non-identical in the relevant Lanham Trade-
                    Mark Act sense.” [Citation omitted] We are aware of no federal
18
                    circuit court that has held or observed otherwise when
19                  considering the specific question of whether material differences
20                  may include warranties and service commitments. Accordingly,
                    we conclude that the district court did not commit an error of law
21
                    in concluding that material differences may include warranties
22                  and services associated with Beltronic’s radar detectors.
23                  Beltronics, supra, 562 F.3d at 1073 citing Nestlé, supra, 982 F.2d
24                  at 641.3

25
      3
        Beltronics has been relied upon repeatedly in the Central District. See, Herbalife International of
26    America, Inc. v. Healthy1 Inc., 2019 WL 7169795, *4; Patagonia, Inc. v. McHugh, 2020 WL 4258818,
      *3; RolexWatch U.S.A., Inc. v. Agarwal, 2012 WL 12886444, *11; Harman Int’l Ind., Inc. v. Pro Sound
27    Gear, Inc., 2018 WL 1989518, *3; Hem and Thread, Inc. et al. v. Wholesalefashionsquare.com, 2021 WL
28    3868779, *3; Michael Andrew Robinson et al. v. Best Price Distributors, LLC et al., 2022 WL 3013182,
      *2.
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 1           As a matter of law, Thimes’ unauthorized sale of TP Link products as “new”, which
 2    did not convey the original manufacturer’s warranty was a violation of Amazon’s
 3    Condition Guidelines, Amazon’s Anti-Counterfeiting Policy, and case law regarding
 4    materiality. There is no evidence of a collusive effort to make “false” allegations. At all
 5    times herein, Amazzia simply reported potential violations to Amazon – using Amazon’s
 6    guidelines, policies and terms – to prompt further investigation. Any decision to suspend
 7    or terminate Thimes’ Amazon account was made exclusively by Amazon after its own
 8    communications with Thimes. Since Amazzia was justified in reporting Thimes pursuant
 9    to Amazon terms, definitions, and policies, prevailing on any claims alleged is unlikely
10    and a $40,000 settlement between Thimes and Amazzia is reasonably within the ballpark
11    of its liability.
12    V.     CONCLUSION
13           Thimes and Amazzia reached a settlement of $40,000 after years of discovery, law
14 and motion practice, appellate practice, and mediation. There is a significant chance that
15 Thimes’ claims will not be supported by a finding of fact by the jury of libelous conduct.
16 Rather, there is significant evidence to establish that Amazzia’s reporting to Amazon was
17 in strict compliance with their policies, guidelines, terms, and definitions. It is also
18 undisputed that only Amazon decides whether to suspend or terminate a seller’s account for
19 repeatedly selling “inauthentic” products. Finally, given the policy of encouraging
20 settlements and understanding that a settling party “pays less” and that all parties “buy their
21 peace”, the settlement between Thimes and Amazzia should be determined to have been
22 reached in good faith and to constitute a settlement in good faith.
23
24    DATED: August 19, 2022                          WEINBERG GONSER FROST LLP
25                                              By:    /s/ Christopher Frost
                                                      Christopher Frost
26                                                    Ashley Morris
27                                                    Attorneys for Defendant,
                                                      AUCTION BROTHERS, INC. dba
28                                                    AMAZZIA
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 1                              CERTIFICATE OF SERVICE
 2
          I hereby certify that on August 19, 2022, I caused a true and correct copy of the
 3 foregoing DEFENDANT AUCTION BROTHERS, INC. dba AMAZZIA’S NOTICE
 4 OF MOTION AND MOTION FOR GOOD FAITH SETTLEMENT
   DETERMINATION PURSUANT TO CALIFORNIA CODE OF CIVIL
 5 PROCEDURE §877.6 to be served via electronic mail on the following:
 6
       Caleb H. Liang                               Randolph Gaw
 7     Heather F. Auyang                            Mark Poe
 8     Joedat H. Tuffaha                            Victor Meng
       Patice A. Gore                               GAW | POE LLP
 9     Prashanth Chennakesavan                      4 Embarcadero Center, Suite 1400
10     LTL ATTORNEYS                                San Francisco, CA 9411
       300 South Grand Ave, 14th Fl.                rgaw@gawpoe.com
11     Los Angeles, CA 90071                        mpoe@gawpoe.com
12     caleb.liang@ltlattorneys.com                 vmeng@gawpoe.com
       heather.auyang@ltlattorneys.com              Mark Schlachet
13     joe.tuffaha@ltlattorneys.com                 LAW OFFICE OF MARK
14     patice.gore@ltlattorneys.com                 SCHLACHET
       prashanth.chennakesavan@ltlattorneys.com     43 West 43rd Street, Suite 220
15                                                  New York, NY 10036
16                                                  markschlachet@me.com
17
18
19                                                      By: /s/ Jenni Bain
20                                                           Jenni Bain
                                                             Paralegal
21
22
23
24
25
26
27
28
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                                      PROOF OF SERVICE
